                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

BRENT NIX, individually and on behalf of all         Civil Action No. 7:17-CV-00189-D
others similarly situated,

                              Plaintiff,
               v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. du PONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION,
ELLIS H. MCGAUGHY, and MICHAEL E.
JOHNSON,

                              Defendants.

ROGER MORTON, individually and on behalf             Civil Action No. 7:17-cv-00197-D
of all others similarly situated,
                              Plaintiff,
               v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. du PONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION, ELLIS
H. MCGAUGHY, AND MICHAEL E.
JOHNSON,

                              Defendants.

VICTORIA CAREY, MARIE BURRIS,                        Civil Action No. 7:17-CV-00201-D
MICHAEL KISER, and BRENT NIX,
individually and on behalf of all others similarly
situated,

                              Plaintiffs,
               v.

E.I. du PONT de NEMOURS AND COMPANY
and THE CHEMOURS COMPANY FC, LLC,

                              Defendants.




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      MEMORANDUM OF LAW IN SUPPORT OF CLASS REPRESENTATIVES’
      UNOPPOSED MOTION FOR APPROVAL OF THE FORM AND MANNER
                OF FIRST SUPPLEMENTAL CLASS NOTICE

       By Order dated October 4, 2023 (Dkt. No. 420), the Court certified this case to proceed as

a class action (the “Class Certification Order”). 1 Subsequently, on January 31, 2024, the Court

issued its Order Approving the Form and Manner of Class Notice, to notify the certified Classes

of the pendency of this case as a class action (the “Notice Order”) (Dkt. No. 429). On July 12,

2024, the Court-appointed notice administrator, A.B. Data, Ltd. (the “Administrator”), filed an

affidavit attesting to various efforts to disseminate notice to the Classes pursuant to the Notice

Order (Dkt. No. 503).

       Recently, in or about March 2025, at the direction of the North Carolina Department of

Environmental Quality, Chemours expanded the eligibility for sampling for PFAS contamination

in private drinking water wells around Defendants’ Fayetteville Works facility. See North

Carolina Department of Environmental Quality, “Well Sampling Information for Residents in

Bladen, Cumberland, Harnett, Hoke, Robeson and Sampson Counties,” available at

https://www.deq.nc.gov/news/key-issues/genx-investigation/genx-information-residents           (last

visited May 21, 2025); see also North Carolina Department of Environmental Quality Expanded

Well Sampling Information Session (April 1, 2025), available at https://www.youtube.com/watch

?v=5DMp6h39glo (last visited May 21, 2025). In particular, approximately 150,000 additional

residences have, as of March 2025, become eligible for private well testing in the expanded


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          The Court certified two Classes pursuant to Fed. R. Civ. P. 23(b): (1) a “public utility”
class, which consists of property owners or renters whose property is serviced by a public water
utility servicing Bladen, Brunswick, Cumberland, New Hanover, or Pender Counties that draws
water from or obtains water drawn from the Cape Fear River downstream of the Fayetteville Works
plant; and (2) a “groundwater” class, which consists of property owners or renters whose property
receives drinking water from a groundwater source with quantifiable concentrations of any of certain
PFAS from the Fayetteville Works plant.


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geographic testing area. See id. Additionally, between the time the initial list of groundwater class

members was generated in January 2024 and the March 2025 announcement, Chemours continued

to conduct additional testing of private groundwater wells. As a result of this testing, Chemours

has identified approximately 1,521 households whose wells showed a positive detection of PFAS

between January 2024 and June 10, 2025, such that associated property owners or renters may be

eligible for class membership pursuant to the Class Certification Order. These property owners

and renters have not previously received actual notice of pendency of the class action, as their

names and addresses were not included in the list of addresses to which the Administrator

disseminated actual notice pursuant to the Notice Order.

        The parties agree that actual notice to such property owners or renters of their potential

class membership is appropriate. Accordingly, Class Representatives bring this unopposed motion

for entry of an order approving the proposed form and content of a first supplemental notice of

pendency to be disseminated to such property owners or renters (the “Supplemental Notice

Order”). A proposed Supplemental Notice Order is being filed contemporaneously herewith.

   I.      THE PROPOSED SUPPLEMENTAL NOTICE PROGRAM

        The parties have met and conferred and agreed on the form and substance of the

supplemental notice attached to the proposed Supplemental Notice Order as Exhibit 1 (the

“Supplemental Class Notice”). This Supplemental Class Notice is substantially the same as the

Postcard Notice authorized by the Court in its January 31 Notice Order. See Dkt. No. 428.

        As set forth in the proposed Supplemental Notice Order, no later than 14 business days

after entry of the Supplemental Notice Order, Defendants will provide to the Administrator, in

electronic form such as Excel, the names, addresses, or other contact information (including email

addresses) if available of all owners and renters of property with private drinking water wells that,



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since January 2024, have been found to contain quantifiable concentrations of PFAS (the “June 2025

List”). Then, no later than 30 business days after entry of the proposed Supplemental Notice Order

(the “Supplemental Notice Date”), the Administrator shall cause the Supplemental Class Notice to

be mailed and/or emailed to all potential Class members on the March 2025 List.

          The proposed Supplemental Notice Order also provides an opportunity for potential Class

members on the June 2025 List to request exclusion from the Classes. A Class member on the

June 2025 List who wishes to make such a request may submit the request in writing to the

Administrator, postmarked no later than 60 calendar days after the First Supplemental Notice

Date. 2 For avoidance of doubt, only potential Class members included on the June 2025 List may

request exclusion; the Supplemental Notice Order does not allow a second opportunity for any

Class member to opt out.

    II.      FUTURE SUPPLEMENTAL NOTICE

          The Class Representatives also hereby notify the Court that they may file additional

motions for supplemental notice in the future. Testing of private drinking water wells around the

Fayetteville Works facility under the expanded testing regime is ongoing, meaning not all

properties in the expanded testing area have received test results indicating the presence or absence

of PFAS in their drinking water wells. It is also possible that testing could be expanded beyond

the geographic area identified in the June 2025 announcement by the North Carolina Department

of Environmental Quality. Accordingly, it is likely that Class Representatives will file additional

rounds of requests to issue supplemental notice. Supplemental notice is appropriate under such

circumstances. See, e.g., Hill v. Cnty. of Montgomery, No. 9:14-CV-00933, 2021 WL 2227796,



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  The Court’s January 31 Notice Order allowed 90 calendar days for Class members to submit
requests for exclusion. A longer exclusion period was appropriate to allow time for public utilities
to submit lists of their customers to the Administrator, a step not necessary here.

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at *4 (N.D.N.Y. June 2, 2021) (noting that supplemental class notice had been issued following

discovery of “a number of additional potential class members”); Ridgeway v. Wal-Mart Stores,

Inc., No. 8-CV-05221, 2016 WL 4529430, at *1 (N.D. Cal. Aug. 30, 2016) (noting that

supplemental class notice had been issued following identification of “forty-two additional class

members who were inadvertently not included in the previous class list”); Sperling v. Hoffmann-

La Roche, Inc., 118 F.R.D. 392, 415 (D.N.J. 1988) (granting request to ”mail[] notice to newly

discovered class members”).

          To avoid burdening the Court with frequent requests for supplemental notice, the parties

have agreed, and propose to the Court, that Class Representatives file any additional requests to

issue supplemental notice on an as-needed basis, but at most every six (6) months.

   III.      CONCLUSION

          Class Representatives respectfully request that the Court approve their proposed form and

manner of Supplemental Class Notice, as set forth in the proposed First Supplemental Notice Order

and its attached Exhibit 1.


 Date: June 16, 2025                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of June, 2025, I electronically filed the foregoing

document with the Clerk of Court using the ECF system, with notices of case activity to be

generated and sent electronically to counsel of record who are registered to receive such service.

                                             /s/ S. Douglas Bunch
                                             S. Douglas Bunch




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